Case 1:18-cr-10017-WGY Document 168-1 Filed 01/03/20 Page 1 of 19




                 EXHIBIT A
       Case 1:18-cr-10017-WGY Document 168-1 Filed 01/03/20 Page 2 of 19




United
States
Sentencing
Commission




Statistical Information Packet
      Fiscal Year 2018
      District of Massachusetts
 Case 1:18-cr-10017-WGY Document 168-1 Filed 01/03/20 Page 3 of 19




                        TABLE OF CONTENTS

Figure A Federal Offenders by Type of Crime                                       1
Figure B Distribution of Primary Drug Type in Federal Drug Cases                  2
Table 1   Distribution of Federal Offenders by Type of Crime                      3

Table 2   Guilty Pleas and Trials in Each Circuit and District                    4
Table 3   Guilty Pleas and Trials by Type of Crime                                7
Table 4   Sentence Type by Type of Crime
          (National)                                                              8
Table 5   Sentence Type by Type of Crime
          (District)                                                              9
Table 6   Incarceration Rate of U.S. Citizen Offenders Eligible for Non-Prison
          Sentences by Type of Crime                                             10
Table 7   Sentence Length by Type of Crime                                       11
Table 8   Sentence Imposed Relative to the Guideline Range                       12
Table 9   Sentence Imposed Relative to the Guideline Range
          in Each Circuit and District                                           13
Table 10 Sentence Imposed Relative to the Guideline Range
         by Type of Crime                                                        16
                  Case 1:18-cr-10017-WGY Document 168-1 Filed 01/03/20 Page 4 of 19

                                                                       Figure A

                                      FEDERAL OFFENDERS BY TYPE OF CRIME1
                                                 Fiscal Year 2018


                                                                       National



                                                                                                        Drugs
                                                                                                        28.1%
                                   Immigration
                                     34.4%




                                                                                                           Firearms
                                                                                                            10.8%

                                          Fraud/Theft/
                                         Embezzlement                                                   Child
                                             9.5%                                                    Pornography
                                                                                                        2.0%
                                                   Robbery
                                                    2.5% Money                    Other        Sexual Abuse
                                                          Laundering
                                                                                  9.2%            1.5%
                                                            1.9%

                                                                  Massachusetts

                                                    Immigration
                                                      14.0%



                                                                                                            Drugs
                                Fraud/Theft/                                                                38.0%
                               Embezzlement
                                   11.3%

                                 Robbery
                                  1.9%

                                   Money
                                 Laundering
                                   6.4%

                                                                                                   Firearms
                                                                                                     6.8%
                                                  Other
                                                  18.3%                                      Child
                                                                   Sexual Abuse           Pornography
                                                                      1.1%                   2.1%



The National figure includes the 69,425 cases reported to the Commission. The Drugs category includes trafficking and simple possession.

The District of Massachusetts figure includes the 529 cases reported to the Commission.

SOURCE: U.S. Sentencing Commission, 2018 Datafile, USSCFY18.




                                                                              1
                  Case 1:18-cr-10017-WGY Document 168-1 Filed 01/03/20 Page 5 of 19

                                                                     Figure B

                DISTRIBUTION OF PRIMARY DRUG TYPE IN FEDERAL DRUG CASES
                                      Fiscal Year 2018


                                                                     National


                                                                                             Powder Cocaine
                                                                                                19.3%

                               Methamphetamine
                                    39.8%

                                                                                                          Crack Cocaine
                                                                                                              7.5%




                                                                                                         Heroin
                                                                                                         13.7%



                                                         Other                     Marijuana
                                                         8.1%                       11.5%



                                                                 Massachusetts
                                                            Methamphetamine
                                                                 3.5%
                                                                                             Powder Cocaine
                                                                                                16.3%


                                       Other
                                       27.7%



                                                                                                          Crack Cocaine
                                                                                                              20.8%



                                     Marijuana
                                      1.0%




                                                                   Heroin
                                                                   30.7%




Of the 69,425 National cases, in 18,964 the offender was sentenced under USSG Chapter Two, Part D (Drugs).

Of the 529 cases from the District of Massachusetts, in 202 the offender was sentenced under USSG Chapter Two, Part D (Drugs).

SOURCE: U.S. Sentencing Commission, 2018 Datafile, USSCFY18.




                                                                             2
           Case 1:18-cr-10017-WGY Document 168-1 Filed 01/03/20 Page 6 of 19



                                                               Table 1

                                  DISTRIBUTION OF FEDERAL OFFENDERS
                                           BY TYPE OF CRIME
                                             Fiscal Year 2018


                                                                        National            Massachusetts
TYPE OF CRIME                                                       N                 %      N             %
TOTAL                                                          69,425              100.0   529         100.0
Administration of Justice                                         730                1.1     6            1.1
Antitrust                                                          53                0.1     0            0.0
Arson                                                              55                0.1     0            0.0
Assault                                                           692                1.0    12            2.3
Bribery/Corruption                                                317                0.5     0            0.0
Burglary/Trespass                                                  41                0.1     1            0.2
Child Pornography                                               1,416                2.0    11            2.1
Commercialized Vice                                               146                0.2     0            0.0
Drug Possession                                                   777                1.1     1            0.2
Drug Trafficking                                               18,747               27.0   200          37.8
Environmental                                                     203                0.3     3            0.6
Extortion/Racketeering                                            288                0.4    14            2.6
Firearms                                                        7,512               10.8    36            6.8
Food and Drug                                                      43                0.1     2            0.4
Forgery/Counter/Copyright                                         298                0.4     1            0.2
Fraud/Theft/Embezzlement                                        6,620                9.5    60          11.3
Immigration                                                    23,883               34.4    74          14.0
Individual Rights                                                  67                0.1     0            0.0
Kidnapping                                                        106                0.2    10            1.9
Manslaughter                                                       61                0.1     0            0.0
Money Laundering                                                1,297                1.9    34            6.4
Murder                                                            318                0.5    14            2.6
National Defense                                                  204                0.3     2            0.4
Obscenity/Other Sex Offenses                                      384                0.6     6            1.1
Prison Offenses                                                   568                0.8     2            0.4
Robbery                                                         1,720                2.5    10            1.9
Sexual Abuse                                                    1,067                1.5     6            1.1
Stalking/Harassing                                                213                0.3     0            0.0
Tax                                                               577                0.8    21            4.0
Other                                                           1,022                1.5     3            0.6

SOURCE: U.S. Sentencing Commission, 2018 Datafile, USSCFY18.




                                                               3
           Case 1:18-cr-10017-WGY Document 168-1 Filed 01/03/20 Page 7 of 19



                                       Table 2

              GUILTY PLEAS AND TRIALS IN EACH CIRCUIT AND DISTRICT
                                 Fiscal Year 2018

CIRCUIT                                        PLEA                   TRIAL
District                  TOTAL              N          %            N           %
TOTAL                      69,425       67,610        97.4       1,815          2.6

D.C. CIRCUIT                  219           203       92.7          16          7.3
District of Columbia          219           203       92.7          16          7.3

FIRST CIRCUIT               1,744        1,678        96.2          66          3.8
Maine                         178          168        94.4          10          5.6
Massachusetts                 529          502        94.9          27          5.1
New Hampshire                 184          178        96.7           6          3.3
Puerto Rico                   760          738        97.1          22          2.9
Rhode Island                   93           92        98.9           1          1.1

SECOND CIRCUIT              3,479        3,314        95.3         165          4.7
Connecticut                   322          313        97.2           9          2.8
New York
 Eastern                      663          632        95.3          31          4.7
 Northern                     384          365        95.1          19          4.9
 Southern                   1,446        1,370        94.7          76          5.3
 Western                      503          476        94.6          27          5.4
Vermont                       161          158        98.1           3          1.9

THIRD CIRCUIT               2,123        2,024        95.3          99          4.7
Delaware                       77           73        94.8           4          5.2
New Jersey                    467          454        97.2          13          2.8
Pennsylvania
 Eastern                      640           603       94.2          37          5.8
 Middle                       471           441       93.6          30          6.4
 Western                      411           403       98.1           8          1.9
Virgin Islands                 57            50       87.7           7         12.3

FOURTH CIRCUIT              5,587        5,387        96.4         200          3.6
Maryland                      838          797        95.1          41          4.9
North Carolina
 Eastern                      744           724       97.3          20          2.7
 Middle                       403           398       98.8           5          1.2
 Western                      566           541       95.6          25          4.4
South Carolina                966           944       97.7          22          2.3
Virginia
 Eastern                    1,331        1,270        95.4          61          4.6
 Western                      238          222        93.3          16          6.7
West Virginia
 Northern                     262           256       97.7           6          2.3
 Southern                     239           235       98.3           4          1.7




                                        4
       Case 1:18-cr-10017-WGY Document 168-1 Filed 01/03/20 Page 8 of 19



CIRCUIT                                    PLEA                   TRIAL
District              TOTAL              N          %            N           %
FIFTH CIRCUIT          17,658       17,459        98.9         199          1.1
Louisiana
 Eastern                  275           255       92.7         20           7.3
 Middle                   154           147       95.5          7           4.5
 Western                  252           238       94.4         14           5.6
Mississippi
 Northern                 173           167       96.5           6          3.5
 Southern                 342           338       98.8           4          1.2
Texas
 Eastern                  753          736        97.7          17          2.3
 Northern               1,484        1,453        97.9          31          2.1
 Southern               6,138        6,077        99.0          61          1.0
 Western                8,087        8,048        99.5          39          0.5

SIXTH CIRCUIT           4,699        4,550        96.8         149          3.2
Kentucky
  Eastern                 392           351       89.5          41         10.5
  Western                 303           293       96.7          10          3.3
Michigan
  Eastern                 934           906       97.0          28          3.0
  Western                 359           349       97.2          10          2.8
Ohio
  Northern                716           695       97.1          21          2.9
  Southern                574           569       99.1           5          0.9
Tennessee
  Eastern                 655           644       98.3          11          1.7
  Middle                  321           312       97.2           9          2.8
  Western                 445           431       96.9          14          3.1

SEVENTH CIRCUIT         2,442        2,338        95.7         104          4.3
Illinois
  Central                 241           233       96.7           8          3.3
  Northern                740           695       93.9          45          6.1
  Southern                266           262       98.5           4          1.5
Indiana
  Northern                373           360       96.5          13          3.5
  Southern                414           400       96.6          14          3.4
Wisconsin
  Eastern                 252           241       95.6          11          4.4
  Western                 156           147       94.2           9          5.8

EIGHTH CIRCUIT          4,805        4,666        97.1         139          2.9
Arkansas
  Eastern                 453           446       98.5           7          1.5
  Western                 238           235       98.7           3          1.3
Iowa
  Northern                370           356       96.2          14          3.8
  Southern                477           466       97.7          11          2.3
Minnesota                 295           274       92.9          21          7.1
Missouri
  Eastern                 847           834       98.5          13          1.5
  Western                 779           758       97.3          21          2.7
Nebraska                  494           477       96.6          17          3.4
North Dakota              370           360       97.3          10          2.7
South Dakota              482           460       95.4          22          4.6




                                    5
             Case 1:18-cr-10017-WGY Document 168-1 Filed 01/03/20 Page 9 of 19



CIRCUIT                                                               PLEA             TRIAL
District                                   TOTAL                    N          %      N          %
NINTH CIRCUIT                               13,532             13,228        97.8   304         2.2
Alaska                                         197                190        96.4     7         3.6
Arizona                                      4,649              4,594        98.8    55         1.2
California
  Central                                      1,110           1,052         94.8   58          5.2
  Eastern                                        477             455         95.4   22          4.6
  Northern                                       535             507         94.8   28          5.2
  Southern                                     3,889           3,837         98.7   52          1.3
Guam                                              44              43         97.7    1          2.3
Hawaii                                           153             152         99.3    1          0.7
Idaho                                            377             369         97.9    8          2.1
Montana                                          356             345         96.9   11          3.1
Nevada                                           458             438         95.6   20          4.4
Northern Mariana Islands                          14              10         71.4    4         28.6
Oregon                                           421             410         97.4   11          2.6
Washington
  Eastern                                        345               336       97.4     9         2.6
  Western                                        507               490       96.6    17         3.4

TENTH CIRCUIT                                  6,541           6,479         99.1    62         0.9
Colorado                                         525             502         95.6    23         4.4
Kansas                                           486             480         98.8     6         1.2
New Mexico                                     3,950           3,941         99.8     9         0.2
Oklahoma
 Eastern                                          96                95       99.0     1         1.0
 Northern                                        195               191       97.9     4         2.1
 Western                                         378               374       98.9     4         1.1
Utah                                             692               684       98.8     8         1.2
Wyoming                                          219               212       96.8     7         3.2

ELEVENTH CIRCUIT                               6,596           6,284         95.3   312         4.7
Alabama
  Middle                                         238               216       90.8    22         9.2
  Northern                                       517               511       98.8     6         1.2
  Southern                                       287               278       96.9     9         3.1
Florida
  Middle                                       1,542           1,445         93.7    97         6.3
  Northern                                       300             277         92.3    23         7.7
  Southern                                     2,251           2,140         95.1   111         4.9
Georgia
  Middle                                         429               422       98.4     7         1.6
  Northern                                       570               539       94.6    31         5.4
  Southern                                       462               456       98.7     6         1.3

Of the 69,425 National cases, no cases were excluded.

SOURCE: U.S. Sentencing Commission, 2018 Datafile, USSCFY18.




                                                               6
             Case 1:18-cr-10017-WGY Document 168-1 Filed 01/03/20 Page 10 of 19



                                                                     Table 3

                             GUILTY PLEAS AND TRIALS BY TYPE OF CRIME
                                           Fiscal Year 2018

                                                                       National                        Massachusetts
                                                            PLEA                   TRIAL          PLEA            TRIAL
TYPE OF CRIME                         TOTAL                  N        %            N       %      N      %         N      %
TOTAL                                   69,425          67,610      97.4       1,815       2.6   502    94.9      27      5.1
Administration of Justice                  730            682       93.4           48      6.6     5    83.3       1   16.7
Antitrust                                    53             48      90.6            5      9.4     0     --        0       --
Arson                                        55             48      87.3            7   12.7       0     --        0       --
Assault                                    692            653       94.4           39      5.6    11    91.7       1      8.3
Bribery/Corruption                         317            293       92.4           24      7.6     0     --        0       --
Burglary/Trespass                            41             41     100.0            0      0.0     1   100.0       0      0.0
Child Pornography                        1,416           1,359      96.0           57      4.0    11   100.0       0      0.0
Commercialized Vice                        146            142       97.3            4      2.7     0     --        0       --
Drug Possession                            777            775       99.7            2      0.3     1   100.0       0      0.0
Drug Trafficking                        18,747          18,270      97.5          477      2.5   196    98.0       4      2.0
Environmental                              203            201       99.0            2      1.0     3   100.0       0      0.0
Extortion/Racketeering                     288            274       95.1          14       4.9   11     78.6       3   21.4
Firearms                                 7,512           7,284      97.0          228      3.0   34     94.4       2      5.6
Food and Drug                                43             42      97.7            1      2.3     2   100.0       0      0.0
Forgery/Counter/Copyright                  298            296       99.3            2      0.7     1   100.0       0      0.0
Fraud/Theft/Embezzlement                 6,620           6,298      95.1          322      4.9    57    95.0       3      5.0
Immigration                             23,883          23,771      99.5          112      0.5    73    98.6       1      1.4
Individual Rights                            67             56      83.6           11   16.4       0     --        0       --
Kidnapping                                 106              90      84.9           16   15.1       9    90.0       1   10.0
Manslaughter                                 61             59      96.7            2      3.3     0     --        0       --
Money Laundering                         1,297           1,213      93.5           84      6.5    29    85.3       5   14.7
Murder                                     318            243       76.4           75   23.6      11    78.6       3   21.4
National Defense                           204            189       92.6           15      7.4     1    50.0       1   50.0
Obscenity/Other Sex Offenses               384            383       99.7            1      0.3     6   100.0       0      0.0
Prison Offenses                            568            561       98.8            7      1.2     2   100.0       0      0.0
Robbery                                  1,720           1,630      94.8          90       5.2   10    100.0       0      0.0
Sexual Abuse                             1,067            976       91.5           91      8.5     6   100.0       0      0.0
Stalking/Harassing                         213            194       91.1           19      8.9     0     --        0       --
Tax                                        577            534       92.5           43      7.5    19    90.5       2      9.5
Other                                    1,022           1,005      98.3           17      1.7     3   100.0       0      0.0

Of the 69,425 National cases, no cases were excluded.

Of the 529 cases from the District of Massachusetts, no cases were excluded.

SOURCE: U.S. Sentencing Commission, 2018 Datafile, USSCFY18.




                                                                           7
                                               Case 1:18-cr-10017-WGY Document 168-1 Filed 01/03/20 Page 11 of 19



                                                                                                      Table 4
                                                                         SENTENCE TYPE BY TYPE OF CRIME
                                                                                  Fiscal Year 2018

                                                                                                      National
                                                                                                   Prison and         Probation and
                                                                 Prison Only                      Alternatives         Alternatives       Probation Only      Fine Only
TYPE OF CRIME                                TOTAL                 N          %                     N           %        N           %        N         %      N            %
TOTAL                                         69,425          60,976        87.8                2,089          3.0   1,394          2.0   4,444        6.4   522           0.8
Administration of Justice                        730             473        64.8                   54          7.4      41          5.6     161       22.1     1           0.1
Antitrust                                         53              17        32.1                    0          0.0      19         35.8      17       32.1     0           0.0
Arson                                             55              50        90.9                    3          5.5       1          1.8       1        1.8     0           0.0
Assault                                          692             559        80.8                   43          6.2      11          1.6      71       10.3     8           1.2
Bribery/Corruption                               317             213        67.2                   30          9.5      27          8.5      46       14.5     1           0.3
Burglary/Trespass                                 41              33        80.5                    5         12.2       2          4.9       1        2.4     0           0.0
Child Pornography                              1,416           1,371        96.8                   32          2.3       5          0.4       8        0.6     0           0.0
Commercialized Vice                              146              81        55.5                   19         13.0      13          8.9      33       22.6     0           0.0
Drug Possession                                  777             481        61.9                    1          0.1      11          1.4     183       23.6   101          13.0
Drug Trafficking                              18,747          17,366        92.6                  686          3.7     245          1.3     446        2.4     4           0.0
Environmental                                    203              52        25.6                    9          4.4      18          8.9     106       52.2    18           8.9
Extortion/Racketeering                           288             247        85.8                   13          4.5       6          2.1      22        7.6     0           0.0
Firearms                                       7,512           6,865        91.4                  268          3.6     126          1.7     250        3.3     3           0.0
Food and Drug                                     43              11        25.6                    1          2.3       2          4.7      25       58.1     4           9.3
Forgery/Counter/Copyright                        298             195        65.4                   17          5.7      30         10.1      56       18.8     0           0.0
Fraud/Theft/Embezzlement                       6,620           4,472        67.6                  376          5.7     469          7.1   1,214       18.3    89           1.3
Immigration                                   23,883          22,390        93.7                  229          1.0     150          0.6   1,113        4.7     1           0.0
Individual Rights                                 67              45        67.2                    1          1.5       7         10.4      12       17.9     2           3.0
Kidnapping                                       106             105        99.1                    1          0.9       0          0.0       0        0.0     0           0.0
Manslaughter                                      61              56        91.8                    3          4.9       1          1.6       1        1.6     0           0.0
Money Laundering                               1,297           1,082        83.4                   50          3.9      53          4.1     111        8.6     1           0.1
Murder                                           318             307        96.5                   11          3.5       0          0.0       0        0.0     0           0.0
National Defense                                 204             165        80.9                    6          2.9       4          2.0      20        9.8     9           4.4
Obscenity/Other Sex Offenses                     384             330        85.9                   40         10.4       8          2.1       6        1.6     0           0.0
Prison Offenses                                  568             527        92.8                   25          4.4       6          1.1       8        1.4     2           0.4
Robbery                                        1,720           1,631        94.8                   70          4.1       7          0.4      12        0.7     0           0.0
Sexual Abuse                                   1,067           1,029        96.4                   24          2.2       3          0.3      11        1.0     0           0.0
Stalking/Harassing                               213             171        80.3                   22         10.3       8          3.8      11        5.2     1           0.5
Tax                                              577             348        60.3                   42          7.3      62         10.7     124       21.5     1           0.2
Other                                          1,022             304        29.7                    8          0.8      59          5.8     375       36.7   276          27.0
Of the 69,425 National cases, no cases were excluded.

Alternatives include all cases in which offenders received conditions of confinement as described in USSG §5C1.1.

SOURCE: U.S. Sentencing Commission, 2018 Datafile, USSCFY18.




                                                                                                           8
                                               Case 1:18-cr-10017-WGY Document 168-1 Filed 01/03/20 Page 12 of 19



                                                                                                      Table 5
                                                                          SENTENCE TYPE BY TYPE OF CRIME
                                                                                   Fiscal Year 2018

                                                                                                  Massachusetts
                                                                                                  Prison and         Probation and
                                                                  Prison Only                     Alternatives        Alternatives       Probation Only     Fine Only
TYPE OF CRIME                                TOTAL                  N          %                   N            %      N            %       N          %    N            %
TOTAL                                           529               424        80.2                 66          12.5    16           3.0     23         4.3    0          0.0
Administration of Justice                         6                 4        66.7                  0           0.0     0           0.0      2        33.3    0          0.0
Antitrust                                         0                 0          --                  0            --     0            --      0          --    0           --
Arson                                             0                 0          --                  0            --     0            --      0          --    0           --
Assault                                          12                 8        66.7                  4          33.3     0           0.0      0         0.0    0          0.0
Bribery/Corruption                                0                 0          --                  0            --     0            --      0          --    0           --
Burglary/Trespass                                 1                 0         0.0                  0           0.0     0           0.0      1       100.0    0          0.0
Child Pornography                                11                11       100.0                  0           0.0     0           0.0      0         0.0    0          0.0
Commercialized Vice                               0                 0          --                  0            --     0            --      0          --    0           --
Drug Possession                                   1                 0         0.0                  0           0.0     1        100.0       0         0.0    0          0.0
Drug Trafficking                                200               159        79.5                 31          15.5     3           1.5      7         3.5    0          0.0
Environmental                                     3                 2        66.7                  0           0.0     0           0.0      1        33.3    0          0.0
Extortion/Racketeering                           14                14       100.0                  0           0.0     0           0.0      0         0.0    0          0.0
Firearms                                         36                29        80.6                  6          16.7     0           0.0      1         2.8    0          0.0
Food and Drug                                     2                 1        50.0                  0           0.0     1          50.0      0         0.0    0          0.0
Forgery/Counter/Copyright                         1                 0         0.0                  0           0.0     0           0.0      1       100.0    0          0.0
Fraud/Theft/Embezzlement                         60                43        71.7                  8          13.3     5           8.3      4         6.7    0          0.0
Immigration                                      74                70        94.6                  0           0.0     1           1.4      3         4.1    0          0.0
Individual Rights                                 0                 0          --                  0            --     0            --      0          --    0           --
Kidnapping                                       10                10       100.0                  0           0.0     0           0.0      0         0.0    0          0.0
Manslaughter                                      0                 0          --                  0            --     0            --      0          --    0           --
Money Laundering                                 34                30        88.2                  3           8.8     1           2.9      0         0.0    0          0.0
Murder                                           14                13        92.9                  1           7.1     0           0.0      0         0.0    0          0.0
National Defense                                  2                 1        50.0                  1          50.0     0           0.0      0         0.0    0          0.0
Obscenity/Other Sex Offenses                      6                 1        16.7                  5          83.3     0           0.0      0         0.0    0          0.0
Prison Offenses                                   2                 2       100.0                  0           0.0     0           0.0      0         0.0    0          0.0
Robbery                                          10                 4        40.0                  6          60.0     0           0.0      0         0.0    0          0.0
Sexual Abuse                                      6                 5        83.3                  1          16.7     0           0.0      0         0.0    0          0.0
Stalking/Harassing                                0                 0          --                  0            --     0            --      0          --    0           --
Tax                                              21                14        66.7                  0           0.0     4          19.0      3        14.3    0          0.0
Other                                             3                 3       100.0                  0           0.0     0           0.0      0         0.0    0          0.0
Of the 529 cases from the District of Massachusetts, no cases were excluded.

Alternatives include all cases in which offenders received conditions of confinement as described in USSG §5C1.1.

SOURCE: U.S. Sentencing Commission, 2018 Datafile, USSCFY18.




                                                                                                           9
                                         Case 1:18-cr-10017-WGY Document 168-1 Filed 01/03/20 Page 13 of 19



                                                                                                 Table 6
           INCARCERATION RATE OF U.S. CITIZEN OFFENDERS ELIGIBLE FOR NON-PRISON SENTENCES
                                           BY TYPE OF CRIME
                                             Fiscal Year 2018

                                                                                             National                                                               Massachusetts
                                                                                                               Non-Prison                                                                 Non-Prison
                                                                      Prison Sentence                           Sentence                          Prison Sentence                          Sentence
TYPE OF CRIME                                  TOTAL                      N         %                           N         %                          N          %                          N          %
TOTAL                                            4,343                1,931        44.5                     2,412        55.5                         7        50.0                        7         50.0
Administration of Justice                          144                   74        51.4                        70        48.6                         1        50.0                        1         50.0
Antitrust                                            8                    3        37.5                         5        62.5                         0          --                        0           --
Arson                                                1                    1       100.0                         0         0.0                         0          --                        0           --
Assault                                            114                   59        51.8                        55        48.2                         0          --                        0           --
Bribery/Corruption                                  18                    1         5.6                        17        94.4                         0          --                        0           --
Burglary/Trespass                                    8                    6        75.0                         2        25.0                         0         0.0                        1        100.0
Child Pornography                                    0                    0          --                         0          --                         0          --                        0           --
Commercialized Vice                                 48                   17        35.4                        31        64.6                         0          --                        0           --
Drug Possession                                    311                  123        39.5                       188        60.5                         0         0.0                        1        100.0
Drug Trafficking                                   449                  280        62.4                       169        37.6                         2       100.0                        0          0.0
Environmental                                       84                   17        20.2                        67        79.8                         0          --                        0           --
Extortion/Racketeering                              11                    5        45.5                         6        54.5                         0          --                        0           --
Firearms                                           115                   46        40.0                        69        60.0                         0          --                        0           --
Food and Drug                                       27                    3        11.1                        24        88.9                         0          --                        0           --
Forgery/Counter/Copyright                           62                   31        50.0                        31        50.0                         0          --                        0           --
Fraud/Theft/Embezzlement                         1,565                  537        34.3                     1,028        65.7                         2        40.0                        3         60.0
Immigration                                        537                  353        65.7                       184        34.3                         0         0.0                        1        100.0
Individual Rights                                   14                    5        35.7                         9        64.3                         0          --                        0           --
Kidnapping                                           0                    0          --                         0          --                         0          --                        0           --
Manslaughter                                         0                    0          --                         0          --                         0          --                        0           --
Money Laundering                                    44                   17        38.6                        27        61.4                         1       100.0                        0          0.0
Murder                                               0                    0          --                         0          --                         0          --                        0           --
National Defense                                    11                    1         9.1                        10        90.9                         0          --                        0           --
Obscenity/Other Sex Offenses                        13                   12        92.3                         1         7.7                         0          --                        0           --
Prison Offenses                                    228                  215        94.3                        13         5.7                         0          --                        0           --
Robbery                                              0                    0          --                         0          --                         0          --                        0           --
Sexual Abuse                                         2                    2       100.0                         0         0.0                         0          --                        0           --
Stalking/Harassing                                  23                   16        69.6                         7        30.4                         0          --                        0           --
Tax                                                 25                    5        20.0                        20        80.0                         0          --                        0           --
Other                                              481                  102        21.2                       379        78.8                         1       100.0                        0          0.0
Of the 69,425 National cases, a U.S. Citizen was the offender in 39,458 cases. Of these, 35,115 cases were excluded because the offender was ineligible for a non-prison sentence.
Of the 529 cases from the District of Massachusetts, a U.S. Citizen was the offender in 344 cases. Of these, 330 cases were excluded because the offender was ineligible for a non-prison sentence.
SOURCE: U.S. Sentencing Commission, 2018 Datafile, USSCFY18.




                                                                                                      10
            Case 1:18-cr-10017-WGY Document 168-1 Filed 01/03/20 Page 14 of 19



                                                                     Table 7

                                       SENTENCE LENGTH BY TYPE OF CRIME
                                                 Fiscal Year 2018

                                                                  National                                           Massachusetts
                                                   Mean           Median                                  Mean         Median
TYPE OF CRIME                                      Months         Months            N                     Months       Months               N
TOTAL                                                 44              20         69,425                      53            24               529
Administration of Justice                             13               9            730                       7             6                 6
Antitrust                                              5               1             53                      --            --                 0
Arson                                                 65              48             55                      --            --                 0
Assault                                               56              33            692                     119           120                12
Bribery/Corruption                                    23              15            317                      --            --                 0
Burglary/Trespass                                     21              18             41                      --            --                 1
Child Pornography                                    104              87          1,416                     106           120                11
Commercialized Vice                                   17               8            146                      --            --                 0
Drug Possession                                        3               1            777                      --            --                 1
Drug Trafficking                                      76              60         18,747                      44            36               200
Environmental                                          3               0            203                       1             0                 3
Extortion/Racketeering                                39              27            288                      43            33                14
Firearms                                              53              41          7,512                      48            42                36
Food and Drug                                          8               0             43                      --            --                 2
Forgery/Counter/Copyright                             14              12            298                      --            --                 1
Fraud/Theft/Embezzlement                              23              12          6,620                      22            15                60
Immigration                                           10               6         23,883                       8             6                74
Individual Rights                                     27              12             67                      --            --                 0
Kidnapping                                           179             138            106                     189           174                10
Manslaughter                                          65              40             61                      --            --                 0
Money Laundering                                      59              35          1,297                      66            46                34
Murder                                               291             292            318                     334           327                14
National Defense                                      52              30            204                      --            --                 2
Obscenity/Other Sex Offenses                          19              18            384                      12            12                 6
Prison Offenses                                       12              11            568                      --            --                 2
Robbery                                              106              88          1,720                      71            69                10
Sexual Abuse                                         191             180          1,067                     251           210                 6
Stalking/Harassing                                    30              24            213                      --            --                 0
Tax                                                   17              12            577                      15            12                21
Other                                                  3               0          1,022                       0             0                 3

Of the 69,425 National cases, no cases were excluded.

Of the 529 cases from the District of Massachusetts, no cases were excluded.

Sentences of 470 months or greater (including life) and probation were included in the sentence average computations as 470 months and zero months,
respectively. The information in this table includes conditions of confinement as described in USSG §5C1.1.

SOURCE: U.S. Sentencing Commission, 2018 Datafile, USSCFY18.




                                                                    11
              Case 1:18-cr-10017-WGY Document 168-1 Filed 01/03/20 Page 15 of 19

                                                                 Table 8

                  SENTENCE IMPOSED RELATIVE TO THE GUIDELINE RANGE1
                                    Fiscal Year 2018

                                                                                      National                      Massachusetts
                                                                                       N                %               N                  %

TOTAL CASES                                                                       68,902           100.0                  527         100.0

SENTENCES UNDER THE GUIDELINES MANUAL                                             51,702               75.0               272             51.6

     Within Guideline Range                                                 35,127             51.0                166            31.5

     Upward Departure2                                                          396              0.6                  4             0.8

     Downward Departure

             §5K1.1 Substantial Assistance                                    6,948            10.1                 53            10.1

             §5K3.1 Early Disposition Program                                 6,259              9.1                11              2.1

             Other Government Motion3                                         1,272              1.8                17              3.2

             Non-Government Departure4                                        1,700              2.5                21              4.0

VARIANCES                                                                         17,200               25.0               255             48.4

     Upward Variance5                                                         1,404              2.0                  8             1.5

     Downward Variance

             Government Motion6                                               3,795              5.5                64            12.1

             Non-Government Variance7                                       12,001             17.4                183            34.7
1
 This table reflects the 69,425 cases reported to the Commission in fiscal year 2018, 529 of which were from the
District of Massachusetts. Of these, 523 cases nationally and two cases from the District of Massachusetts were excluded
because information was missing from the submitted documents that prevented the comparison of the sentence and the guideline range.
2
  Cases in which the sentence imposed was above the applicable guideline range and for which the court cited a reason on Part V of the
Statement of Reasons form, other than §5K1.1 or §5K3.1.
3
  Cases in which the sentence imposed was below the applicable guideline range and for which the court cited a reason on Part V of the
Statement of Reasons form, other than §5K1.1 or §5K3.1, and where the prosecution initiated, proposed, or stipulated to the sentence.
4
  Cases in which the sentence imposed was below the applicable guideline range and for which the court cited a reason on Part V of the
Statement of Reasons form, other than §5K1.1 or §5K3.1, and where the prosecution did not initiate, propose, or stipulate to the sentence.
5
  Cases in which the sentence imposed was above the applicable guideline range and for which the court cited a reason on Part VI of the
Statement of Reasons form.
6
  Cases in which the sentence imposed was below the applicable guideline range and for which the court cited a reason on Part VI of the
Statement of Reasons form, and where the prosecution initiated, proposed, or stipulated to the sentence.
7
  Cases in which the sentence imposed was below the applicable guideline range and for which the court cited a reason on Part VI of the
Statement of Reasons form, or where no reason was given, and where the prosecution did not initiate, propose, or stipulate to the sentence.

SOURCE: U.S. Sentencing Commission, 2018 Datafile, USSCFY18.


                                                                    12
            Case 1:18-cr-10017-WGY Document 168-1 Filed 01/03/20 Page 16 of 19



                                                         Table 9

                       SENTENCE IMPOSED RELATIVE TO THE GUIDELINE RANGE
                                 IN EACH CIRCUIT AND DISTRICT1
                                         Fiscal Year 2018
                                    WITHIN
                                   GUIDELINE                           DEPARTURE
CIRCUIT                              RANGE        UPWARD         §5K1.1         §5K3.1     DOWNWARD         VARIANCE
District                TOTAL       N     %       N    %        N       %      N       %    N    %           N     %
TOTAL                    68,902   35,127   51.0   396   0.6   6,948   10.1   6,259   9.1   2,972    4.3   17,200   25.0

D.C. CIRCUIT               217       85    39.2    1    0.5     27    12.4       0   0.0     24    11.1      80    36.9
District of Columbia       217       85    39.2    1    0.5     27    12.4       0   0.0     24    11.1      80    36.9

FIRST CIRCUIT             1,739     781    44.9   12    0.7    152     8.7      11   0.6     80     4.6     703    40.4
Maine                       178      63    35.4    2    1.1     44    24.7       0   0.0      7     3.9      62    34.8
Massachusetts               527     166    31.5    4    0.8     53    10.1      11   2.1     38     7.2     255    48.4
New Hampshire               184      73    39.7    0    0.0     13     7.1       0   0.0      5     2.7      93    50.5
Puerto Rico                 757     462    61.0    6    0.8     34     4.5       0   0.0     30     4.0     225    29.7
Rhode Island                 93      17    18.3    0    0.0      8     8.6       0   0.0      0     0.0      68    73.1

SECOND CIRCUIT            3,458    1,130   32.7    15   0.4    585    16.9      19   0.5    165     4.8    1,544   44.7
Connecticut                 322      124   38.5     1   0.3     43    13.4       0   0.0     37    11.5      117   36.3
New York
 Eastern                    662     168    25.4    0    0.0    145    21.9       2   0.3     71    10.7     276    41.7
 Northern                   373     188    50.4    3    0.8     71    19.0       3   0.8      9     2.4      99    26.5
 Southern                 1,438     367    25.5    3    0.2    196    13.6      14   1.0     37     2.6     821    57.1
 Western                    503     248    49.3    8    1.6    104    20.7       0   0.0      5     1.0     138    27.4
Vermont                     160      35    21.9    0    0.0     26    16.3       0   0.0      6     3.8      93    58.1

THIRD CIRCUIT             2,114     869    41.1    8    0.4    465    22.0      22   1.0     64     3.0     686    32.5
Delaware                     77      29    37.7    0    0.0      8    10.4       6   7.8      1     1.3      33    42.9
New Jersey                  464     190    40.9    2    0.4     99    21.3       2   0.4      9     1.9     162    34.9
Pennsylvania
 Eastern                   637      213    33.4    2    0.3    211    33.1       3   0.5     20     3.1     188    29.5
 Middle                    470      258    54.9    2    0.4     73    15.5      11   2.3     19     4.0     107    22.8
 Western                   410      139    33.9    2    0.5     65    15.9       0   0.0     14     3.4     190    46.3
Virgin Islands              56       40    71.4    0    0.0      9    16.1       0   0.0      1     1.8       6    10.7

FOURTH CIRCUIT            5,501    3,084   56.1   65    1.2    721    13.1       6   0.1    216     3.9    1,409   25.6
Maryland                    816      284   34.8   14    1.7    161    19.7       0   0.0     68     8.3      289   35.4
North Carolina
 Eastern                   693      408    58.9   18    2.6    156    22.5      0    0.0     11     1.6     100    14.4
 Middle                    403      236    58.6    6    1.5     41    10.2      0    0.0      4     1.0     116    28.8
 Western                   565      330    58.4    2    0.4    119    21.1      0    0.0      8     1.4     106    18.8
South Carolina             965      560    58.0   10    1.0    137    14.2      1    0.1     31     3.2     226    23.4
Virginia
 Eastern                  1,327     856    64.5   10    0.8     45     3.4       0   0.0     68     5.1     348    26.2
 Western                    235     106    45.1    4    1.7     43    18.3       0   0.0     16     6.8      66    28.1
West Virginia
 Northern                  262      170    64.9    0    0.0     10     3.8       0   0.0      5     1.9      77    29.4
 Southern                  235      134    57.0    1    0.4      9     3.8       5   2.1      5     2.1      81    34.5




                                                        13
           Case 1:18-cr-10017-WGY Document 168-1 Filed 01/03/20 Page 17 of 19



                              WITHIN
                             GUIDELINE                         DEPARTURE
CIRCUIT                        RANGE        UPWARD       §5K1.1         §5K3.1     DOWNWARD       VARIANCE
District          TOTAL       N     %       N    %      N       %      N       %    N    %         N     %
FIFTH CIRCUIT      17,588   12,223   69.5   127   0.7   929    5.3     670   3.8    872    5.0   2,767   15.7
Louisiana
 Eastern             275      137    49.8    3    1.1    34   12.4       3   1.1     10    3.6     88    32.0
 Middle              153       90    58.8    2    1.3    26   17.0       0   0.0      0    0.0     35    22.9
 Western             239      156    65.3    1    0.4    22    9.2       0   0.0      0    0.0     60    25.1
Mississippi
 Northern            161       73    45.3    0    0.0    36   22.4       0   0.0      2    1.2     50    31.1
 Southern            338      269    79.6    1    0.3    20    5.9       0   0.0      0    0.0     48    14.2
Texas
 Eastern              753      534   70.9    3    0.4    14    1.9       0   0.0     10    1.3     192   25.5
 Northern           1,479      948   64.1   13    0.9   178   12.0       1   0.1     54    3.7     285   19.3
 Southern           6,136    3,628   59.1   93    1.5   343    5.6     423   6.9    599    9.8   1,050   17.1
 Western            8,054    6,388   79.3   11    0.1   256    3.2     243   3.0    197    2.4     959   11.9

SIXTH CIRCUIT       4,648    2,072   44.6   19    0.4   855   18.4      15   0.3    253    5.4   1,434   30.9
Kentucky
  Eastern            392      220    56.1    3    0.8    55   14.0       0   0.0     11    2.8    103    26.3
  Western            302      143    47.4    1    0.3    55   18.2       5   1.7     18    6.0     80    26.5
Michigan
  Eastern            929      387    41.7    1    0.1   143   15.4       3   0.3     12    1.3    383    41.2
  Western            359      193    53.8    8    2.2    61   17.0       0   0.0     15    4.2     82    22.8
Ohio
  Northern           716      314    43.9    3    0.4   176   24.6       0   0.0     29    4.1    194    27.1
  Southern           574      158    27.5    0    0.0   100   17.4       5   0.9    128   22.3    183    31.9
Tennessee
  Eastern            630      326    51.7    0    0.0   160   25.4      0    0.0      8    1.3    136    21.6
  Middle             307      111    36.2    2    0.7    59   19.2      1    0.3     28    9.1    106    34.5
  Western            439      220    50.1    1    0.2    46   10.5      1    0.2      4    0.9    167    38.0

SEVENTH CIRCUIT     2,433     907    37.3   10    0.4   331   13.6       2   0.1    161    6.6   1,022   42.0
Illinois
  Central            237      106    44.7    0    0.0    26   11.0       0   0.0      6    2.5     99    41.8
  Northern           740      208    28.1    3    0.4    79   10.7       2   0.3     81   10.9    367    49.6
  Southern           266      152    57.1    3    1.1    32   12.0       0   0.0      8    3.0     71    26.7
Indiana
  Northern           371      166    44.7    0    0.0    76   20.5       0   0.0      8    2.2    121    32.6
  Southern           414      165    39.9    2    0.5    81   19.6       0   0.0      6    1.4    160    38.6
Wisconsin
  Eastern            250       46    18.4    1    0.4    32   12.8       0   0.0      1    0.4    170    68.0
  Western            155       64    41.3    1    0.6     5    3.2       0   0.0     51   32.9     34    21.9

EIGHTH CIRCUIT      4,795    2,168   45.2   38    0.8   658   13.7      54   1.1    132    2.8   1,745   36.4
Arkansas
  Eastern            444      277    62.4    0    0.0    32    7.2       0   0.0      6    1.4    129    29.1
  Western            238      106    44.5    0    0.0    27   11.3       0   0.0      2    0.8    103    43.3
Iowa
  Northern           370      226    61.1    5    1.4    70   18.9       0   0.0      1    0.3     68    18.4
  Southern           476      200    42.0    0    0.0    83   17.4       0   0.0      3    0.6    190    39.9
Minnesota            295       95    32.2    5    1.7    45   15.3       0   0.0     15    5.1    135    45.8
Missouri
  Eastern            847      327    38.6    4    0.5   104   12.3       0   0.0      8    0.9    404    47.7
  Western            779      286    36.7    4    0.5   123   15.8       0   0.0     51    6.5    315    40.4
Nebraska             494      243    49.2    0    0.0    16    3.2      43   8.7      4    0.8    188    38.1
North Dakota         370      118    31.9    4    1.1   143   38.6      10   2.7     14    3.8     81    21.9
South Dakota         482      290    60.2   16    3.3    15    3.1       1   0.2     28    5.8    132    27.4




                                                  14
            Case 1:18-cr-10017-WGY Document 168-1 Filed 01/03/20 Page 18 of 19



                                        WITHIN
                                       GUIDELINE                                       DEPARTURE
CIRCUIT                                  RANGE              UPWARD               §5K1.1         §5K3.1               DOWNWARD             VARIANCE
District                   TOTAL        N     %             N    %              N       %      N       %              N    %               N     %
NINTH CIRCUIT               13,439    4,357    32.4          68     0.5       1,021     7.6      4,521    33.6         607     4.5       2,865      21.3
Alaska                         196       63    32.1           0     0.0          35    17.9          0     0.0           1     0.5          97      49.5
Arizona                      4,580    1,794    39.2          45     1.0         112     2.4      1,938    42.3          96     2.1         595      13.0
California
  Central                    1,103      367    33.3           1     0.1        141     12.8        107     9.7          88     8.0        399       36.2
  Eastern                      476      202    42.4           0     0.0         81     17.0         22     4.6          20     4.2        151       31.7
  Northern                     532      177    33.3           3     0.6         91     17.1          4     0.8          24     4.5        233       43.8
  Southern                   3,887      632    16.3           9     0.2        213      5.5      2,355    60.6         295     7.6        383        9.9
Guam                            44       26    59.1           0     0.0         10     22.7          0     0.0           1     2.3          7       15.9
Hawaii                         153       79    51.6           0     0.0         39     25.5          0     0.0           1     0.7         34       22.2
Idaho                          377      208    55.2           1     0.3         63     16.7         14     3.7          10     2.7         81       21.5
Montana                        355      132    37.2           1     0.3         89     25.1          0     0.0           3     0.8        130       36.6
Nevada                         454      196    43.2           1     0.2         32      7.0         11     2.4          19     4.2        195       43.0
Northern Mariana Islands        14        6    42.9           0     0.0          4     28.6          0     0.0           0     0.0          4       28.6
Oregon                         418      114    27.3           4     1.0         47     11.2          0     0.0          28     6.7        225       53.8
Washington
  Eastern                     345       156    45.2           1     0.3         49     14.2         17     4.9          11     3.2        111       32.2
  Western                     505       205    40.6           2     0.4         15      3.0         53    10.5          10     2.0        220       43.6

TENTH CIRCUIT                6,515    3,832    58.8          24     0.4        359      5.5        921    14.1         302     4.6      1,077       16.5
Colorado                       518      215    41.5           1     0.2         89     17.2         58    11.2          18     3.5        137       26.4
Kansas                         479      193    40.3           4     0.8         94     19.6          1     0.2           9     1.9        178       37.2
New Mexico                   3,945    2,803    71.1          12     0.3         50      1.3        680    17.2         144     3.7        256        6.5
Oklahoma
 Eastern                       96        67    69.8           0     0.0          5      5.2          0     0.0           1     1.0         23       24.0
 Northern                     195        70    35.9           2     1.0         38     19.5          0     0.0          28    14.4         57       29.2
 Western                      378       198    52.4           0     0.0         30      7.9          2     0.5           7     1.9        141       37.3
Utah                          687       212    30.9           3     0.4         34      4.9        159    23.1          78    11.4        201       29.3
Wyoming                       217        74    34.1           2     0.9         19      8.8         21     9.7          17     7.8         84       38.7

ELEVENTH CIRCUIT             6,455    3,619    56.1           9     0.1        845     13.1         18      0.3         96     1.5      1,868       28.9
Alabama
  Middle                      238       124    52.1           0     0.0         45     18.9          0      0.0          2     0.8         67       28.2
 Northern                     509       298    58.5           1     0.2        105     20.6          0      0.0          6     1.2         99       19.4
 Southern                     287       167    58.2           0     0.0         45     15.7          0      0.0          7     2.4         68       23.7
Florida
 Middle                      1,540      798    51.8           1     0.1        253     16.4         12      0.8         28     1.8        448       29.1
  Northern                     295      160    54.2           0     0.0         52     17.6          5      1.7          2     0.7         76       25.8
  Southern                   2,148    1,231    57.3           4     0.2        207      9.6          1      0.0         26     1.2        679       31.6
Georgia
  Middle                      419       317    75.7           0     0.0         35      8.4          0      0.0          4     1.0         63       15.0
  Northern                    557       174    31.2           1     0.2         48      8.6          0      0.0         19     3.4        315       56.6
  Southern                    462       350    75.8           2     0.4         55     11.9          0      0.0          2     0.4         53       11.5

Of the 69,425 National cases, 523 were excluded because information was missing from the submitted documents that prevented the comparison of the
sentence and the guideline range.

SOURCE: U.S. Sentencing Commission, 2018 Datafile, USSCFY18.




                                                                     15
                     Case 1:18-cr-10017-WGY Document 168-1 Filed 01/03/20 Page 19 of 19



                                                                            Table 10

                             SENTENCE IMPOSED RELATIVE TO THE GUIDELINE RANGE
                                             BY TYPE OF CRIME
                                               Fiscal Year 2018
                                                                               National
                                                 WITHIN
                                                GUIDELINE                                         DEPARTURE
                                                  RANGE                UPWARD                §5K1.1       §5K3.1                  DOWNWARD                VARIANCE
TYPE OF CRIME                      TOTAL              N       %            N      %            N       %            N       %            N       %            N     %
TOTAL                                68,902      35,127     51.0         396      0.6       6,948    10.1       6,259      9.1       2,972      4.3       17,200   25.0
Child Pornography                     1,416         404     28.5           9      0.6          27      1.9           0     0.0          88      6.2         888    62.7
Drug Trafficking                     18,730       6,786     36.2          68      0.4       4,015    21.4       1,332      7.1         932      5.0        5,597   29.9
Firearms                              7,496       4,178     55.7          65      0.9        511       6.8           3     0.0         317      4.2        2,422   32.3
Fraud/Theft/Embezzlement              6,528       3,069     47.0          30      0.5        911     14.0            4     0.1         241      3.7        2,273   34.8
Immigration                          23,750      15,458     65.1         120      0.5        177       0.7      4,900     20.6         779      3.3        2,316    9.8
Money Laundering                      1,296         325     25.1           2      0.2        381     29.4            2     0.2          87      6.7         499    38.5
Robbery                               1,720         662     38.5          26      1.5        264     15.3            3     0.2         124      7.2         641    37.3
Sexual Abuse                          1,067         429     40.2           3      0.3          81      7.6           1     0.1          76      7.1         477    44.7
Other Miscellaneous Offenses          6,899       3,816     55.3          73      1.1        581       8.4         14      0.2         328      4.8        2,087   30.3



                                                                         Massachusetts

                                                 WITHIN
                                                GUIDELINE                                         DEPARTURE
                                                  RANGE                UPWARD                §5K1.1       §5K3.1                  DOWNWARD                VARIANCE
TYPE OF CRIME                      TOTAL              N       %            N      %            N       %            N       %            N       %            N     %
TOTAL                                   527         166     31.5           4      0.8          53    10.1          11      2.1          38      7.2         255    48.4
Child Pornography                        11           4     36.4           0      0.0           0      0.0           0     0.0           0      0.0           7    63.6
Drug Trafficking                        200          56     28.0           2      1.0          24    12.0            0     0.0          13      6.5         105    52.5
Firearms                                 36          16     44.4           0      0.0           2      5.6           0     0.0           2      5.6          16    44.4
Fraud/Theft/Embezzlement                 59          15     25.4           0      0.0          11    18.6            0     0.0           7     11.9          26    44.1
Immigration                              73          41     56.2           0      0.0           3      4.1         11     15.1           2      2.7          16    21.9
Money Laundering                         34            5    14.7           0      0.0           7    20.6            0     0.0           5     14.7          17    50.0
Robbery                                  10            3    30.0           0      0.0           0      0.0           0     0.0           0      0.0           7    70.0
Sexual Abuse                              6            1    16.7           0      0.0           0      0.0           0     0.0           0      0.0           5    83.3
Other Miscellaneous Offenses             98          25     25.5           2      2.0           6      6.1           0     0.0           9      9.2          56    57.1

Of the 69,425 National cases, 523 were excluded because information was missing from the submitted documents that prevented the comparison of the sentence
and the guideline range.

Of the 529 cases from the District of Massachusetts, two cases were excluded because information was missing from the from the submitted documents that
prevented the comparison of the sentence and the guideline range.

SOURCE: U.S. Sentencing Commission, 2018 Datafile, USSCFY18.




                                                                                 16
